                Case 24-00033     Doc 1   Filed 02/01/24     Page 1 of 5




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                                  Baltimore Division
In re:                                     (

                                           (

R.M. Schmidt, Inc.                         (     Bankr. Case No.:23-10069-DER
                                           (

         Debtor(s)                         (               (Chapter 7)
                                           (

                                           (

Zvi Guttman, Trustee                       (
P.O. Box 32308
Baltimore, MD 21282                        (


                                           (
         Plaintiff
                                           (

v.                                         (


Little Eggs Child Care                     (

f/k/a Little Eggs, LLC                     (

                                                 Adv. Proc. No.: 24____-der
and                                        (


                                           (
Jeremy Allen
t/a Little Eggs Child Care                 (


                                           (
Serve:
                                           (
Jeremy Allen, CEO
7005 Banbury Dr., #100                     (
Hanover MD 21076
                                           (

and

Jeremy Allen
c/o Oxford MD, LLC
Gregory A. Dorsey, Esq.
10320 Little Patuxent Park #608
Columbia MD 21044

         Defendants


      COMPLAINT TO AVOID AND RECOVER PREFERENTIAL TRANSFERS

         Plaintiff, Zvi Guttman, Trustee, hereby files this Complaint against Little
Eggs Child Care fka Little Eggs LLC and Jeremy Allen t/a Little Eggs Child
Care (hereinafter, the “Defendant”) to Avoid and Recover Preferential Transfers
              Case 24-00033        Doc 1    Filed 02/01/24   Page 2 of 5




and, in support thereof, states:


                                             Parties
         1.   Zvi Guttman, Trustee, Plaintiff, is the Chapter 7 Trustee for the
captioned bankruptcy estate.
         2.   The Defendant engaged in financial transaction with R.M. Schmidt,
Inc. (the "Debtor") as a vendor, or otherwise. The Defendant did business with the
Debtor in Maryland.


                                           Jurisdiction
         3.   This Court has jurisdiction over this matter pursuant to 28 U.S.C.
§§ 157 and 1334 and 11 U.S.C. §§ 502 and 541 - 550.
         4.   This is a core proceeding and the Trustee consents to entry of final
orders or judgments by the Bankruptcy Judge.
         5.   Venue is proper in this district pursuant to 28 U.S.C. § 1409.


                                           Background
         6.   This case was commenced by the filing of a voluntary petition for
relief under Chapter 7 of the Bankruptcy Code on January 5, 2023.
         7.   The Debtor was a Maryland company, with its principal offices in
Westminster, Maryland.
         8.   Plaintiff brings this Complaint against the Defendant to avoid and
recover transfer(s) or their value, under the Bankruptcy Code (11 U.S.C. § 101 et.
seq.).
         9.   In the ninety (90) day period preceding the filing of the Petition, the
Debtor transferred property to or for the benefit of the Defendant in the aggregate
amount of not less than $31,570.00 (individually, a "Transfer," and if one or more,
the “Transfers”). A detailed breakdown of each Transfer including the method of
transfer, the date of the transfer, and other pertinent information is as follows:
    Check No.: 74560     Amount: $31,570.00      Cleared Debtor's Account 12/15/2022




                                             2
               Case 24-00033        Doc 1   Filed 02/01/24     Page 3 of 5




        10.    The Trustee analyzed all readily available and provided information
and documents and reasonably believes that the Transfers are avoidable after
giving effect to the Defendants’ known or reasonably knowable affirmative
defenses under section 547(c) of the Bankruptcy Code.1
              Count I – Avoidance of Transfers (11 U.S.C. § 547(b)
        11.    The allegations hereinabove set forth are incorporated by reference
as though fully set forth herein.
        12.    The Transfers were a transfer of an interest of the Debtor in property.
        13.    The Transfers were made to the Defendant.
        14.    The Transfers were made for the benefit of the Defendant.
        15.    The Transfers were made for or on account of antecedent debts
(“Debt”) owed by the Debtor before such Transfers were made.
        16.    At the time the Transfers were made the Debtors were insolvent as
that term is defined and used in sections 101(32) and 547 of the Bankruptcy Code.
        17.    The Transfers were made on or within 90 days before the filing of the
petition for relief that commenced this case.
        18.    The Transfers enabled the Defendant to receive more than it would
have received in this chapter 7 case had the Transfers not been made and had
Defendant received payment on the Debt to the extent provided by the Bankruptcy
Code.
        19.    The Transfers constitute voidable preferences pursuant to § 547 of
the Bankruptcy Code.
        20.    Immediately prior to each of the Transfers, the Defendant was a
creditor of the Debtor and each of the Transfers satisfied some portion of an
outstanding claim of the Defendant against the Debtor.


              Count II – Avoidance of Transfer (11 U.S.C. § 547(b)
        21.    The allegations hereinabove set forth, except for Paragraphs 15 and
20, are incorporated by reference as though fully set forth herein.


1 Defendant was served with a Subpoena Duces Tecum pursuant to Rule 2004 but failed to

respond.


                                             3
               Case 24-00033        Doc 1   Filed 02/01/24   Page 4 of 5




        22.     The Transfers were made to a creditor of the Debtor other than the
Defendant, and the Transfers enabled such creditor to receive more than such
creditor would receive in this chapter 7 case had the Transfers not been made and
such creditor received payment of the Debt to the extent provided by the provisions
of the Bankruptcy Code.


                   Count III – Recovery of Transfers (11 U.S.C. § 550)
        23.     The allegations hereinabove set forth are incorporated by reference
as though fully set forth herein.
        24.     The Defendant was the initial recipient of the Transfers from the
Debtor
        25.     The Defendant had legal dominion and control of the Transfers when
and as received.
        26.     The Defendant is the entity for whose benefit the Transfers were
made.
        27.     The Transfers are recoverable from the Defendant pursuant to § 550
of the Bankruptcy Code.


              Count IV – Disallowance of Claim (11 U.S.C. § 502(d))
        28.     The allegations hereinabove set forth are incorporated by reference
as though fully set forth herein.
        29.     To the extent the Defendant holds or will file an otherwise valid and
enforceable claim the Trustee objects to the payment of said claim unless and until
any and all avoidable transfers are returned to the Trustee.
        WHEREFORE, the Trustee prays that this Honorable Court:
        A.    Enter judgment in favor of the Trustee and against the Defendant
avoiding the Transfers;
        B. Enter judgment in favor of the Trustee and direct that the Defendant pay
the Trustee an amount equal to (i) the Transfer(s), (ii) any additional avoidable
transfers the Trustee becomes aware of during the pendency of this proceeding,




                                            4
                Case 24-00033      Doc 1   Filed 02/01/24    Page 5 of 5




(iii) interest from the date of the filing of this Complaint and (iv) the costs of this
action;
          C. Disallow the claim(s), if any, of the Defendant; and
          D. Order such other and further relief as is just and proper.

                                            /s/ Zvi Guttman
                                            Zvi Guttman (06902)
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                                            Counsel to the Trustee




                                            5
